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               UNITED STATES DISTRICT COURT ZOl9 AUG 2q A II: o3
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      FOR THE DISTRICT OF UTAH, SALT LAKE CITY DLIVISION UTMi
                 351 South West Temple, Rm. 1.100 BY: !c~FeFtVEB:GIJ;:RK
                     Salt Lake City, UT 84101      ' L. ~t"t1rrtL1."R.F\--
                          (80l) 524-6100                    AUG 26 2019
                                                                          U.S. DISTRICT COURT
ANDREWU. D. STRAW,                  )
700 12th ST NW STE 700              .)
PMB 92403                           )        Case: 2:19-cv-00598
                                             Assigned To : Kimball, Dale A.
Washington, DC 20005                )        Assign. Date : 8/26/2019
(802) 552-3030                       )       Description: Straw v. Aon Pie
Plaintiff,                          )
v.                                   )
AON PLC,                             )       Hon.
4001 South 700 East, STE 500         )       Judge Presiding
Salt Lake City, UT 84107             )
(801) 264-6703                       )       Hon.
Defendant.                          )        Magistrate Judge
                                     )       Jury Trial Demanded


                                COMPLAINT

I, plaintiffAndrew U. D. Straw, for my Complaint against the defendant
herein, complain that Aon cooperated with the Indiana Supreme Court
and other insurance companies to discriminate against me and prevent
me from having minimal malpractice insurance under the ADA and I
seek damages for this:

                             PERSONAL FACTS

1.     I incorporate by reference all of the averments and statements of

fact and law in the attached affidavit dated August 23, 2019.

2.     My residence is in the Philippines now. I have no office myself.



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3.     I have engaged in reform efforts to protect disability access. This is

apparent from my website on my disabilities, which I incorporate by

reference recognizing that I change this page as appropriate over time.

4.     http://disability.andrewstraw.com/

5.     I was illegally denied "Errors & Omissions Insurance" by Aon and

its partner insurance companies. The evidence is in Exhibit 1, which is

introduced in the affidavit and incorporated here by reference.

                               DISABILITIES

6.     I have severe physical and mental disabilities from public service

per the affidavit.      I hereby incorporate by reference the following

documents from Straw v. Village of Streamwoo~ et. al., 3:16-cv-50387

(N.D. Ill.): my affidavit regarding disabilities, Exhibit 4 in that case, and

all evidence thereof mentioned in that affidavit, Exhibits 5-10. The x-

rays of my broken legs and pelvis are easily seen on the webpage I set up

to display my disabilities. http://disability.andrewstraw.com/

7.     I have been adjudicated as disabled by Illinois Court of Appeals,

which recognized that I am a disability rights public figure. Straw v.

Chamber, 2015 IL App (1st) 143094-U (at *2).




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8.     Further, the U.S. Department of Education forgave my $52,000

student loan due to my being on SSDI with severe disabilities. This

disability forgiveness was finalized on or about September of 2017.

9.     I am a disability rights political figure because I founded "Disability

Party" on 2/5/2013 and it now has thousands of followers in the U.S.A.

and abroad.

10.    The ADA Amendments Act of 2008 guarantees that mitigating or

ameliorating treatments should be disregarded when considering the

disability. 42 USC §12102(4)(E)(i). The same standard is true of the

Rehabilitation Act of 1973.

11.    The state of my right hip and right femur and left leg and ankle

show that I would be in a wheelchair all the time without that metal

keeping me together. I am even missing a large portion of the top of my

right femur from the total hip replacement, which includes a prosthetic

partial femur. I must be considered as a person who uses a wheelchair

because I could be in that state with a single trip and fall, I have used a

wheelchair in the past, and the ADA says I am in that "wheelchair-using

state" forever as a matter of law. 42 USC §12102(4)(E)(i).




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12.     I have sued the City of South Bend in Indiana and sought the

assistance of the Federal Highway Administration's Office of Civil Rights

in 2015. Straw v. City ofSouth Bend, et. al., 3:16-cv-342-JED-MGG (N.D.

Ind.). FHWA assisted me.

13.     FHWA said that blocking accessible features with snow is

prohibited under the ADA, Title II. (Exhibit 16, Straw v. Streamwood>.

I settled with South Bend years ago.         Similarly, I settled with Kane

County, Illinois, on or about March 2017 due to that local government

leaving a large pile of snow in 50% of its handicap parking serving the

Election Board office when I was a congressional candidate there.

14.     These settlements are evidence that my ADA work in the N.

District of Illinois and the N. District of Indiana is yielding results for

people with disabilities.       I have also set an Illinois human rights

precedent that businesses deliberately piling snow into handicap parking

is discrimination on its face. Straw v. Reposteria, 2015CP3451 (Ill. Hum.

Rts. Comm. 2019). I had standing to do this because of my physical

disabilities obtained from my sacrifice to 400+ Indiana courts.

15.     The Indiana Supreme Court has discriminated against me for the

past 18 years for the reasons I gave in Straw v. Indiana Supreme        Gour~



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et. al, 1:16-cv-3483-SEB-TAB (S.D. Ind.). See also Straw v. Indiana, et.

al., 2019-147 (Vt.); Andrew U. D. Straw v. State ofIndiana, by Gov. Eric

Holcomb, 49Dl0-1907-PL-030392 (Marion County Superior Court #10).

16.    I am very sensitive and absolutely intolerant to disability

discrimination and denial of my rights to accommodations and this

increases the level of damages that are due here.

1 7.   My affidavit establishes my grounds for asking the following counts

to be adjudicated:

                     COUNT I: ADA Titles II & III & V

18.    This ADA case concerns an insurance company broker that only

appears to offer insurance from companies that reject me and that

rejection is based on discrimination for the reasons in my affidavit and

above.

19.    Normally, an insurance company would fall under Title III, but in

cooperating with the Indiana Supreme Court discrimination, which the

Virginia State Bar called "a drive· by shooting," Aon has become a co-

conspirator with the Indiana Supreme Court and its discrimination.

That state court is so hostile to disability that it bans all disabled

individuals from practicing law. Ind. Rules of Admission & Discipline,


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Rule 23, Sections 2(c) & 3(b). I have suffered from this discrimination for

18 years and when I complained about it in 2014, the Court's ADA

coordinator retaliated against me and caused gargantuan injury that no

ADA coordinator is permitted to do, by in the Midwest, it was permitted

and even celebrated.       In Re Straw, 68 N.E.3d 1070 (Ind. 2/14/2017).

Please note that I have been suspended for over 2.5 years and the Indiana

Supreme Court apparently only gives criminally drunk-driving judges

reprimands. The reason is the Admission & Discipline rules that do not

allow any disabled person to be a lawyer and that Court achieved that

goal by dishonestly attacking me in immediate retaliation against my

complaint.    The cooperation with Indiana in denying me insurance

simply enhances the damage. This collusion and refusal to consider the

VSB rejection of the Indiana discipline makes this a Title II and Title V

matter. 42 U.S.C. §§ 12132 & 12203. The federal regulations make it

crystal clear that no one may retaliate. 29 C.F.R. § 35.134. This anti-

retaliation   regulation     provision       is   explained   on   this   website:

http://www.ada.gov/reg2.html

20.   The damages I claim for the Title II & V violations match the

amount of coverage I asked at $300,000 maximum. TOTAL: $300,000


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                         PRAYER FOR RELIEF
21.   I demand $300,000 in compensatory damages for ADA Title II & V

(also the regulations). Cooperating with Indiana and inflicting yet more

damage on the basis of that dishonest discipline must be compensated

fully. It is exceptionally stressful that I retained my Virginia license

NEVER SUSPENDED but cannot get insurance due to Indiana's

discrimination and the collusion of private companies with that public

discrimination.

DECLARATORY JUDGMENT
22.   I seek declaratory judgment that when a disabled lawyer seeks

insurance in a state in which he was never disciplined is not rejected

because of discipline he claims was discrimination in another state.

23.   Further, Title II damages have been granted up to $1 million in the

past for state discrimination. Barnes v. Gorman, 536 U.S. 181 (2002).

Those who collude are also at risk. In effect, the discrimination here is a

continuation of the retaliation against my 2014 ADA complaint to the

ADA coordinator of the Indiana Supreme Court. Hence, the applicability

of Titles IIN of the ADA.

24.   The Technical Assistance Manual explains how these fit together.


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25.     II-1.3000 Relationship to title III. Public entities are not subject to

title III of the ADA, which covers only private entities. Conversely,

private entities are not subject to title II. In many situations, however,

public entities have a close relationship to private entities that are

covered by title III, with the result that certain activities may be at least

indirectly affected by both titles. https://www.ada.gov/taman2.html

26.     Finally, I would ask for any other relief this Court and a jury may

deem appropriate to achieve justice. If the Court or the jury believe more

damages is appropriate, I would accept more than the above.

INJUNCTION RELIEF REQUESTED

27.     Injunction relief is obviously going to be necessary to force Aon to

provide insurance without any discriminatory behavior. Insurance is

covered by 42 U.S.C. § 12181(7)(F): "(F) a laundromat, dry-cleaner, bank,

barber shop, beauty shop, travel service, shoe repair service, funeral

parlor, gas station, office of an accountant or lawyer, pharmacy,

insurance office, professional office of a health care provider, hospital, or

other                          service                        establishment."




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                     JURISDICTION AND VENUE

28.   This Court has jurisdiction over this action under 28 U.S.C. § 1331,

as it is a federal question action based on the ADA, Titles II & V. Title

III may be used for the injunction. The disability discrimination falls

under the Rehabilitation Act 1973 and Barnes v. Gorman, 536 U.S. 181

(2002). The discrimination in lending is also a federal law violation, as

is the violation of the right to travel under Kent v. Dulles. The possible

criminal violations explained in the affidavit show that restitution may

also be grounds under federal law.

29.   Venue properly lies in the District of Utah under 28 U.S.C.

§139l(b)(3), as the defendant is the United States. The United States

can be sued in any district.

I, Attorney Andrew U. D. Straw, certify that to the best of my knowledge,
information, and belief, formed after an inquiry reasonable under the
circumstances, that the above statements and factual representations
are true and correct under penalty of perjury. Date: August 23, 2019

Respectfully submitted,

~fl.J}. Jl4r-
s/ ANDREW U. D. STRAW
700 12th ST NW, STE 700
PMB 92403
Washington, D.C. 20005
Telephone: (802) 552-3030
andrew@andrewstraw.com
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                     CERTIFICATE OF SERVICE

I, Andrew U. D. Straw, certify that I filed the above COMPLAINT and
AFFIDAVIT and 1 EXHIBIT and SUMMONS and a CIVIL COVER
SHEET and IFP MOTION with AFFIDAVIT and MOTION FOR
MARSHAL SERVICE and USM 285 FORM with the Clerk of this Court
via U.S. Mail, First Class and Postage Prepaid, on August 23, 2019, and
this will be served on all attorneys of record as well as permanently
available through Pacer.gov.

Respectfully submitted,


CLJw.rtt. b. Jlt:t;;:-
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